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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 NATIONAL PUBLIC RADIO, INC., et al.,

                               Plaintiffs,           Civil Case No. 25-cv-1674

                v.
                                                     DECLARATION OF
 DONALD J. TRUMP, et al.,                            BADRI MUNIPALLA
                               Defendants.




                         DECLARATION OF BADRI MUNIPALLA

I, Badri Munipalla, hereby declare as follows:

       1.      I am the Vice President, Distribution at National Public Radio, Inc. (NPR), a

position I have held since April 2024.

       2.      I am over the age of 18, am competent, and make this declaration based upon my

own personal knowledge. I make this declaration in support of Plaintiffs’ Motion for Summary

Judgment in the above-captioned case. If called to do so, I could and would competently testify

to these matters under oath.

       3.      I joined NPR in January 2008 as a software developer with NPR Distribution. In

2020, I became NPR Distribution’s Senior Director of Technology, where I was responsible for

the overall operation and development of the technical functions of the Public Radio Satellite

System (PRSS). In that role, which I held until 2024, I was integral to many major enterprise

initiatives, including transitioning to the current generation of PRSS-transmission infrastructure,

and overhauling the broadcast-automation software utilized by the PRSS Network Operations

Center in Washington, D.C. I also guided the development of ContentDepot®—the PRSS’s




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broadcast programming distribution system—to enhance its usability and reliability for stations

and producers.

       4.        In my current role, I oversee NPR Distribution, which manages and operates the

PRSS, the nation’s public radio interconnection system. I am responsible for all activities

associated with the planning and management of this mission-critical division, including

engineering, software development, station and producer relations, and business strategy and

operations.

       5.        The PRSS is the satellite and terrestrial content distribution system that serves as

the backbone of the nationwide infrastructure for the public radio system. Each year, the PRSS

distributes approximately 400,000 hours of news, music, and specialized audience programming

to more than 1,200 public radio stations and signals throughout the United States.

       6.        The PRSS’s centralized network operations comprise one of the largest and most

reliable media distribution systems in the United States. Its Network Operations Center in

Washington, D.C. serves stations and signals throughout the United States that reach

approximately 99% of the U.S. population. Its synchronized backup network operations center in

St. Paul, Minnesota, provides failover capabilities on a different power grid in case of emergencies,

enabling up-to-the-moment, live content coverage.

       7.        The PRSS is available to all public telecommunications entities, including

independent producers; program syndicators and distributors; national, state, and local

organizations; and public radio stations. Stations that receive programming distributed by the

PRSS include stations located in remote villages in northern Alaska, in Tribal communities in the

Southwest, Guam and the U.S. Virgin Islands, and in major media markets including New York

and Los Angeles.



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       8.       The PRSS plays a vital role in ensuring that essential information reaches all

Americans during times of national emergencies. It serves 379 public radio stations, including

NPR’s 246 Member stations, and more than 1,200 radio signals, enabling essential information to

reach about 99% of Americans over the airwaves, including those living in rural or remote

communities. In the event of a nationwide crisis, the PRSS provides Presidential alerts from the

Federal Emergency Management Agency to public radio stations throughout the country. The

PRSS has been named as a resource in at least 20 states’ emergency plans, and public radio stations

are included in more than 35 states’ emergency plans.

       9.       Each of the public radio stations participating in the PRSS (collectively, the

Interconnected Stations) is a stakeholder in the PRSS’s collective assets, has approved the

designation of NPR as the manager and operation of the PRSS, and is a customer of the services

the PRSS provides. Interconnected Stations own their own downlink and uplink equipment.

       10.      In the 1980s, the Interconnected Stations designated NPR as the sole entity

responsible for managing and operating the PRSS and, since then, have continuously approved

NPR’s designation as the sole manager and operator of the PRSS. The Interconnected Stations

pay modest fees to NPR for its management and operation of the PRSS. The Corporation for

Public Broadcasting (the Corporation or CPB), in turn, has recognized NPR as the system manager

responsible for maintaining and developing the PRSS, and has provided funding specifically for

that purpose.

       11.      The Distribution/Interconnection (D/I) Committee of the NPR Board is charged

with proposing rates and policies to the Board and overseeing the operation and management of

the PRSS. The D/I Committee includes both NPR Board members and non-NPR Board members.

The non-NPR Board members represent the interests of PRSS users who are not associated with



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NPR, including independent producers, other program distributors, non-Member stations, and

other organizations and entities in public radio. The presence of the non-NPR Board members on

the D/I Committee reflects NPR’s role as manager of a system that serves all public

telecommunications entities that need distribution services. The non-NPR Board members of the

D/I Committee are elected by the NPR Board and ratified by the Interconnected Stations.

       12.     As the entity designated by the Interconnected Stations to manage and operate the

PRSS, NPR receives funds from the Corporation for Public Broadcasting (CPB or the Corporation)

from a designated fund—the Public Broadcasting Satellite Interconnection Fund—for

maintenance and operation of the PRSS. For Fiscal Year 2024, NPR received approximately $6.8

million in grant funding from CPB to support the PRSS. NPR’s current grant agreement with CPB

for PRSS funding expires on September 30, 2025.

       13.     I understand that on May 1, 2025, President Trump issued Executive Order 14290,

titled “Ending Taxpayer Subsidization of Biased Media” (the Order), which purports to direct

federal agencies as well as CPB to stop NPR from receiving any federal funding.

       14.     The loss of all direct funding for the PRSS from CPB would be crippling. The

PRSS is essential infrastructure for the public radio system and a vital public safety mechanism.

       15.     NPR relies on CPB grant funding specifically designated to support the

maintenance and operation of the PRSS. If NPR is unable to receive that funding, NPR’s ability

to maintain and operate the PRSS will be seriously compromised.

       16.     Since the 1970s, NPR Distribution has assisted public radio stations by providing

tested and proven technology to enable their broadcasts. Part of the role of NPR Distribution is to

identify the best technical solutions that are available, reliable and affordable. The current

distribution system—ContentDepot®—uses satellite technology as its primary distribution



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platform because satellite is currently the most cost-effective and reliable means of delivering

high-quality audio programming to a diverse national network of radio stations.             Satellite

capability enables stations in remote areas without reliable Internet service to provide content to

listeners. In some areas, it is the only form of media available.

       17.     PRSS also provides 24/7 technical support for local public radio stations. Many

local radio stations have only a few staff members, and do not have anyone on site to troubleshoot

problems if the station is having difficulty accessing programming. When these stations run into

problems, they rely on PRSS technical staff to help solve them.

       18.     The PRSS cannot be easily or inexpensively replaced by federal government or

state-level systems or commercial entities.

       19.     Without PRSS and the Interconnected Stations, entire communities across the

country would be vulnerable during national disasters, blackouts, and other emergencies. The

PRSS provides Presidential-level alerts to stations in the event of a national emergency. It has also

equipped some local stations with the technology to provide local and regional text alerts on smart

devices—including phones, car radios and tablets—that can be synchronized with local and

regional broadcast alerts. Local stations have used that capability to, for example, provide updates

related to tornadoes, hurricanes, and wildfires. Many local stations rely on PRSS to maintain and

update this technology. If PRSS lost its funding, these systems would degrade.

       I declare under the penalty of perjury that the foregoing is true and correct.

       Dated: Washington, D.C.
              June 13, 2025


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       Badri Munipalla


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